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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


                                              )
ERIC SWALWELL,                                )
                                              )
      Plaintiff,                              )
v.                                            ) Civil Case No. 1:21-cv-00586 APM
                                              )
DONALD J. TRUMP, et al.,                      )
                                              )
      Defendants.                             )
                                              )
                                              )

             MOTION FOR CM/ECF USER NAME AND PASSWORD


      I hereby move the Court for leave to participate in the Case

Management/Electronic Case Files system.

      In support of this motion, I certify that I generally have Internet access

through my laptop, WiFi networks and/or my cellphone's data plan; that I have the

capacity to file and receive documents electronically on a regular basis; and that I

have completed the Clerk's online CM/ECF tutorial

      I certify under penalty of perjury that the foregoing is true and correct.

Executed on 07/30/2021.

                                              Respectfully submitted,

                                              /s/ Morris Jackson “Mo” Brooks, Jr.

                                              Morris Jackson “Mo” Brooks, Jr.
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        Case 1:21-cv-00586-APM Document 37 Filed 07/30/21 Page 2 of 2




                            CERTIFICATE OF SERVICE

I certify that on July 30, 2021, a copy of the foregoing was filed with the Clerk via
email to DCDml_Intake@dcd.uscourts.gov, which, as Brooks understands it, will
send a copy to all counsel of record.

                                               /s/ Morris Jackson “Mo” Brooks, Jr.

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